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ORIGINAL
                             UNITED STATES DISTRICT COURT

                            SOUTHERN DISTRICT OF NEW YORK

DAVID SPEISER, Individually and on Behalf )          Case No. 1: 17-cv-06517
of All Others Similarly Situated,         )
                                                 )   CLASS ACTION .
                               Plaintiff,        )                             USOC SDNY
                                                 )                             J>OCUMENT
       vs.                                       )
                                                                               ELECTRONICALLY FILED
BLUE APRON HOLDINGS, INC.,         )                                           DOC#=----...--_..;..-
MATTHEW B. SALZBERG, ILIA M.
PAPAS, MATTHEW J. WADIAK, JARED
                                   )
                                   )
                                                                               DATE FILED:            fpyJz
CLUFF, PABLO CUSSATTI, BENJAMIN C. ~
SINGER, JULIE M.B. BRADLEY, TRACY
BRITT COOL, KENNETH A. FOX, ROBERT~
P. GOODMAN, GARY R. HIRSHBERG,     )
BRIAN P. KELLEY, and BRADLEY J.    )
DICKERSON,                         )
                                                )
                              Defendants.
                                                )
______________________________ )
             JOINT STIPULATION AND MOTION OF ALL PARTIES REGARDING
                      SERVICE, SCHEDULING AND PLEADING

       All parties, by and through their attorneys, hereby stipulate, subject to Court approval, as

follows:

       WHEREAS, on August 25, 2017, David Speiser, individually and on behalf of all others

similarly situated ("Plaintiff'), filed a class action complaint captioned Speiser v. Blue Apron

Holdings, Inc. et al. (the "Complaint");

       WHEREAS, this putative class action asserts federal securities claims arising under the

Securities Act of 1933, and therefore is governed by the Private Securities Litigation Reform Act

of 1995 (the "PSLRA"). See 15 U.S.C. §77z-1 et seq.;

       WHEREAS, the PSLRA provides for consolidation of any related actions and then the

   appointment of a lead plaintiff and lead counsel, after a 60-day notice period expires following
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the publication of notice of the filing of an initial securities class action. See 15 U .S.C. §77z-

I (a)(3);

        WHEREAS, counsel for Plaintiff in the earlier filed action Nurlybayev v. Blue Apron

Holdings, Inc. et al., I: 17-cv-04846 (E.D.N.Y.) (the "Nurlybayev Action"), alleging substantially

similar claims against an overlapping set of defendants, published notice of the Nurlybayev

Action on August 21, 20 17;

        WHEREAS, motions for the appointment as lead plaintiff and for approval of the lead

plaintiffs selection of lead counsel are due on October 16, 2017;

        WHEREAS, lead plaintiff and lead counsel will not be appointed until weeks following

the completion of briefing on any lead plaintiff motions, and accordingly it is unclear at this time

who will ultimately have the authority to act on behalf of the putative class, and whether the

court-appointed lead plaintiff will file a consolidated or amended complaint, or stand on the

existing complaint filed herein; and

        WHEREAS, no Party has previously requested or received time for an extension to

answer or otherwise plead to the complaint in the above-captioned action;

        IT IS HEREBY STIPULATED AND AGREED,                by and between the undersigned counsel for

Plaintiff and Defendants, that:

            1.      Defendants are not required to respond to Plaintiffs' initial Complaint;

        2.          Upon appointment, the lead plaintiff shall have sixty (60) days to file a
                    consolidated or amended complaint or to deem the initial Complaint filed herein
                    or in another similar action the operative complaint;

        3.          Defendants shall answer, move against, or otherwise respond to the operative
                    complaint within sixty (60) days after service;

        4.          Lead plaintiff shall have sixty (60) days thereafter to oppose any motion that may
                    be filed by Defendants;

        5.          Defendants shall have thirty (30) days after the filing of lead plaintiffs opposition
                    papers to file their reply; and
                                                    - 2-
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       6.      Nothing herein shall impact any other rights of any party, including Defendants'
               right to seek transfer of this case. 1




1
  Nearly identical class actions are pending in multiple jurisdictions. Defendants reserve the
right to seek the transfer of one or more cases in order to facilitate consolidation.


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IT IS SO STIPULATED.                DEFENDANTS

DATED: September 13,2017            By their counsel,
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                                    Kenneth A. Fox, Robert P. Goodman, Gary R.
                                    Hirshberg, Brian P. Kelley, and Bradley J
                                    Dickerson

                                    PLAINTIFF

                                    By his counsel,
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                                             Attorneys for Plaintiff




SO ORDERED this   ~ay        of September ......, , 2017




     Louis L. Stanton
     United States District Judge




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